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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 18-CR-00656-LTS

CARLOS ALVAREZ,

                 Defendant.

-------------------------------------------------------x


                                                           ORDER

                  The Court has received Defendant Carlos Alvarez’s letter dated October 21,

2020, submitted pro se, which attaches (1) an evaluation of the Manhattan Detention Center’s

response to the COVID-19 pandemic, performed on or about April 23, 2020, by a Dr. Homer

Venters, the results of which Plaintiff contends are as true now as they were then, and (2) four

pages of correspondence between and concerning Defendant and his attorney, Patrick Brackley.

                 The Court construes the substance of Mr. Alvarez’s letter, and the evaluation

attached to it, as a further submission in support of his pending motion for release on bail

pending sentencing. (Docket Entry Nos. 98, 121.) The Court will file those submissions on the

public docket, and will address the substance of Mr. Alvarez’s motion after the due date for his

counsel to submit a reply brief (i.e., November 11, 2020). (See Docket Entry No. 122.)

                 In order to preserve the attorney-client privilege between Mr. Alvarez and his

counsel, the Court will file the communications between and concerning them under seal, and

will provide a copy to Mr. Alvarez’s counsel. Counsel for Mr. Alvarez is reminded to promptly

provide Mr. Alvarez with copies of all filings made and orders entered in this case, including this




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one. Counsel is also directed to communicate promptly with Mr. Alvarez concerning the issues

raised in his October 21, 2020, letter and its attachments.


       SO ORDERED.

Dated: New York, New York
       November 9, 2020

                                                              /s/ Laura Taylor Swain
                                                              LAURA TAYLOR SWAIN
                                                              United States District Judge




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